IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TENNESSEE
NORTHERN DIVISION

BOB DeWITT and PEGGY DeWITT
Plaintiffs,

v. Case No. 3:11-CV-00393

SPARTA INSURANCE CO., and

ARTHUR J. GALLAGHER RISK
MANAGEMENT SERVICES, INC.,

\_/H.._J`_/`_/`_/`_/\_/\-/\_/

Defendants.

STIPULATION OF EXTENSION OF TIME
TO FILE ANSWER 'I`O COMPLAINT

 

Defendant SPARTA Insurance Co. (“SPARTA”), together with Plaintiffs Bob DeWitt
and Peggy DeWitt (“DeWitts"), by and through their undersigned respective counsel, hereby
state to the Coult that they have agreed pursuant to Local Rule 12.1 that SPARTA may have an
additional 21 days in which to file its Answer to the Cornplaint filed by P1aintiffs [Doe. No. 1].
By agreement of the parties, SPARTA shall have until October 18, 2011 to file its Answer to
Plaintiffs’ Complaint.

Respeetfully submitted,

/s/ Russell E. Stair

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/s/ Jay W. Mader (W/ perrnission}
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Counselfor Plaintz'jj.`s Bob DeWitt and Peggy De Wz`tf

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CERTIFICATE OF SERVICE
I hereby certify that on September 26, 2011, l electronically filed the foregoing
STIPULATION OF EXTENSION OF TIME TO FILE ANSWER TO COMPLAINT, With the
clerk of court for the United States District Court, Eastern District of Tennessee, using the
electronic case filing system of the Court. The electronic case filing system sent a “Notice of
Electronic Filing” to all attorneys of record Who have consented to accept Service by electronic

lTlCEIHS.

/s/ Russell E. Stair

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